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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

United States of America
                                   Plaintiff,
v.                                                      Case No.: 1:16−cv−10787
                                                        Honorable Jorge L. Alonso
Jung Joo Park, et al.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 8, 2020:


        MINUTE entry before the Honorable M. David Weisman: Magistrate status
hearing held. Parties appeared telephonically and reported on the status of discovery,
advising the Court that they would like to exchange more discovery before pursuing a
settlement agreement. Given this, a video settlement conference is set for 2/24/21 at 10:30
a.m. Plaintiff's settlement letter shall be delivered to Defendants by 2/10/21. Defendants'
settlement letter shall be delivered to Plaintiff by 2/17/21. Parties shall confer and send
ONE email to Courtroom Deputy, Alyssia Owens at Alyssia_Owens@ilnd.uscourts.gov
by 2/17/21 identifying the email addresses of the individuals who intend to participate in
the settlement conference. The parties must also submit their respective documents by
email to Proposed_Order_Weisman@ilnd.uscourts.gov. Please note that settlement letters
are not to be filed on the CM−ECF system. Parties have no objection to the Court having
ex parte discussions with counsel in advance of the settlement conference if the Court
believes such conversations would be warranted. As discussed, due to the current health
pandemic and the Eighth Amended General Order 20−0012, today's court hearing was not
recorded on the court's recording system. Therefore, this order will serve as the official
record. See 28 U.S.C. §753(b). If the parties wish to amend this order, they may visit this
Court's webpage for more information. Mailed notice (ao,)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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